                                 NUMBER 13-16-00479-CR

                                    COURT OF APPEALS

                          THIRTEENTH DISTRICT OF TEXAS

                             CORPUS CHRISTI - EDINBURG


                         IN RE ALEJANDRO EMILIANO SOLIS


                           On Petition for Writ of Mandamus.


                                 MEMORANDUM OPINION

      Before Chief Justice Valdez and Justices Garza and Longoria
                   Memorandum Opinion Per Curiam1

        Relator Alejandro Emiliano Solis filed a pro se petition for writ of mandamus in the

above cause on August 29, 2016, seeking to compel the trial court to rule on his pending

motion for nunc pro tunc judgment. The relator did not furnish an appendix or record to

support his request for relief.

        To be entitled to mandamus relief, the relator must establish both that he has no

adequate remedy at law to redress his alleged harm, and that what he seeks to compel

is a purely ministerial act not involving a discretionary or judicial decision. In re Harris,


        1 See TEX. R. APP. P. 52.8(d) (“When denying relief, the court may hand down an opinion but is not
required to do so.”); TEX. R. APP. P. 47.4 (distinguishing opinions and memorandum opinions).
491 S.W.3d 332, 334 (Tex. Crim. App. 2016) (orig. proceeding); In re McCann, 422

S.W.3d 701, 704 (Tex. Crim. App. 2013) (orig. proceeding). If the relator fails to meet

both of these requirements, then the petition for writ of mandamus should be denied.

State ex rel. Young v. Sixth Jud. Dist. Ct. of Apps. at Texarkana, 236 S.W.3d 207, 210
(Tex. Crim. App. 2007). It is the relator’s burden to properly request and show entitlement

to mandamus relief. Barnes v. State, 832 S.W.2d 424, 426 (Tex. App.—Houston [1st

Dist.] 1992, orig. proceeding) (“Even a pro se applicant for a writ of mandamus must show

himself entitled to the extraordinary relief he seeks.”). In addition to other requirements,

the relator must include a statement of facts supported by citations to “competent

evidence included in the appendix or record,” and must also provide “a clear and concise

argument for the contentions made, with appropriate citations to authorities and to the

appendix or record.” See generally TEX. R. APP. P. 52.3. The relator must furnish an

appendix or record sufficient to support the claim for mandamus relief. See id. R. 52.3(k)

(specifying the required contents for the appendix); R. 52.7(a) (specifying the required

contents for the record).

       The Court, having examined and fully considered the petition for writ of mandamus

and the applicable law, is of the opinion that the relator has not met his burden to obtain

mandamus relief. See State ex rel. Young, 236 S.W.3d at 210. Accordingly, relator’s

petition for writ of mandamus is denied. See TEX. R. APP. P. 52.8(a).


                                                 PER CURIAM

Do not publish.
TEX. R. APP. P. 47.2(b).

Delivered and filed the
2nd day of September, 2016.

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